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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 HARRY SAMUEL, CHRISTOPHER                  ) C.A. No.: 1:23-cv-01134-RGA
 ROBERT DESMOND, and ARTHUR                 )
 GOVAN, individually and on behalf of       )
 others similarly situated,                 )
                                            )
              Plaintiffs,                   )
                                            )
 v.                                         )
                                            )
 CENTENE CORPORATION,                       )
 CENTURION OF DELAWARE LLC,                 )
 VITALCORE HEALTH STRATEGIES,               )
 ACTING COMMISSIONER TERRA                  )
 TAYLOR, FORMER COMMISSIONER                )
 CLAIRE M. DEMATTEIS, FORMER                )
 COMMISSIONER MONROE B.                     )
 HUDSON, JR., MEDICAL DIRECTOR              )
 DR. AWELE MADUKA-EZEH and                  )
 BUREAU CHIEF MEDICAL RECORDS,              )
                                            )
              Defendants.                   )

                      DEFENDANT VITALCORE HEALTH STRATEGIES’
                   OPENING BRIEF IN SUPPORT OF ITS MOTION TO DISMISS


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 Dated: December 11, 2023                     Attorneys for VitalCore Health Strategies




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                         NATURE AND STAGE OF PROCEEDING

         Plaintiffs Harry Samuel (“SAMUEL”), Christopher Robert Desmond (“DESMOND”), and

Arthur Govan (“GOVAN”)(collectively, the “Plaintiffs”) filed their Class Action Complaint (the

“Complaint,” or “Compl.”) on October 11, 2023, against Defendant VitalCore Health Strategies

(“VITALCORE,” “Defendant,” or the “Movant”) and the other above-captioned Co-Defendants

(collectively, the “Co-Defendants”, and together with VITALCORE, the “Defendants”) raising

two causes of action: Count I, claiming §1983 Violations of the Eighth and Fourteenth Amendment

under federal law; and Count II, claiming Negligent Hiring, Supervision, and Retention under state

law. See Compl. These two causes are raised jointly and without distinction against all Defendants.

The pleading generally alleges that Plaintiffs and a proposed class of similarly situated Delaware

inmates received inadequate health care from Defendants.

         This is VITALCORE’s Opening Brief (the “Opening Brief”) in support of its Motion to

Dismiss (the “Motion”), filed contemporaneously herewith, pursuant to rules 8(a), 10, and 12(b)(6)

of the Federal Rules of Civil Procedure.

                                SUMMARY OF ARGUMENTS

         1.    The Complaint is an improper “shotgun pleading” which comingles claims and

causes of action against VITALCORE and others without distinction, in violation of Rule 8(a).

         2.    Count I of the Complaint fails to state a valid cause for Section 1983 Constitutional

violations by failing to allege sufficient facts of VITALCORE’s direct involvement nor deliberate

indifference resulting in concrete harms suffered by Plaintiffs in violation of Rule 12(b)(6).

         3.    Count II of the Complaint fails to state valid state law negligence causes of action,

which are barred by the Delaware State Tort Claims Act (“DSTCA”) even if properly pled.

         4.    Plaintiffs failed to exhaust administrative remedies as mandatory prerequisite

before filing suit, as required by the Prison Litigation Reform Act (“PLRA”).



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         5.     VITALCORE is immune from suit under the Eleventh Amendment and DSTCA.

         6.     The Complaint fails to plead facts sufficient to establish requisite elements for

certification of the proposed putative class, which is both premature and improper.

                                   STATEMENT OF FACTS

I.       Plaintiff-Specific Allegations

         The Complaint identifies three named Plaintiffs bringing claims individually and on behalf

others similarly situated. Plaintiffs are currently incarcerated within the Delaware Department of

Correction (the “DDOC”) and each allege to have received insufficient healthcare constituting

deliberate indifference to their medical needs.

         Specifically, it is alleged that Plaintiff SAMUEL was and is an inmate of the James T.

Vaughn Correctional Center who claims to have a serious medical condition that was negligently

managed. Specifically, SAMUEL claims: (i) he began suffering from bleeding beginning on

November 29, 2022 for which he immediately sought emergency care from Co-Defendants and

did not receive treatment in response to his complaints; (ii) alleges he interacted with staff

employed by certain Defendants on various dates between November 29, 2022 and February 7,

2023, during which time he placed numerous “sick calls” for worsening symptoms which Co-

Defendants’ staff failed to properly address; (iii) on February 7, 2023, while being transported by

wheelchair to undergo treatment for profuse bleeding, SAMUEL became faint and sustained a fall.

He was left on the floor bleeding and received no aid for several minutes until being transported

by ambulance to an emergency room; and (iv) after receiving emergency medical treatment at an

offsite hospital, SAMUEL was advised that he needed specialist care and would likely require

surgery. Despite this recommendation, SAMUEL claims Co-Defendants failed to provide

necessary referrals for specialist consultation and surgery, causing prolonged pain.




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         Notably, none of SAMUEL’S specific allegations of insufficient medical care and/or

delayed diagnosis occurred during relevant dates of VITALCORE’s involvement. Rather,

SAMUEL actually alleges that upon VITALCORE assuming control of correctional healthcare, it

was only then when he finally received necessary testing and treatment. SAMUEL underwent a

bone scan and colonoscopy ordered by VITALCORE’s staff, which revealed prostate and rectal

cancer that had become terminal due to prior delays in treatment under Co-Defendants’ purview.

Delays in SAMUEL’s treatment and diagnosis are alleged to have accrued prior to VITALCORE’s

involvement in his care. SAMUEL’S only allegation specific to VITALCORE is that on some

unspecified date after July 1, 20203, an unidentified representative of VITALCORE “advised that

he was not going to be provided any treatment.” However, this contradicts Plaintiff’s prior claim

that he thereafter underwent a colonoscopy and bone scan ordered by VITALCORE. Significantly,

SAMUEL has not alleged any actual injury or resulting diagnosis proximately caused by

VITALCORE’s conduct or involvement in his care.

         Plaintiff GOVAN was and is an inmate residing at the James T. Vaughn Correctional

Center who claims to have a serious medical condition that was negligently treated. Specifically,

GOVAN claims: (i) generally, that he was denied emergency medical care and was not taken to

see necessary specialists on unspecified times, presumably under Co-Defendants’ purview; (ii) on

September 15, 2022, he began to experience prostate and urinary symptoms. Weeks later, Co-

Defendants’ staff referred him to a urology specialist to address urgent needs, but never brought

him to receive the consultation; and (iii) after receiving no specialist treatment for several months,

another Co-Defendant provider issued GOVAN another referral for a urology consult on or about

May 11, 202, noting it to be “urgent,” which he never received in a timely manner. GOVAN alleges

only generally that Defendants continue to fail to take action to ensure he is seen by an appropriate

specialist, so he is unable to determine if he actually suffers from a serious medical condition.



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GOVAN’s only allegation even generally involving VITALCORE is his claim that he has

continued to be denied timely assessment by a Urologist after VITALCORE assumed control of

healthcare beginning on July 1, 2023. GOVAN has not alleged any actual injury or resulting

diagnosis proximately caused by VITALCORE’s conduct or involvement in his care.

         Plaintiff DESMOND was and is an inmate residing at the same correctional facility who

was placed in a Chronic Care Program for his medical needs, which he claims were negligently

managed by Defendants. Specifically, DESMOND claims: (i) he was previously placed in a

Chronic Care Program upon recognition of his medical conditions of high blood pressure and heart

disease; (ii) despite knowledge of his medical needs, Defendants, without distinction and on

unspecified dates, withheld and refused to provide DESMOND’s prescribed medications for 47

days as a form of discipline; and (iii) that Defendants jointly failed to provide him access to

cardiology specialists for treatment of a heart condition on unspecified dates. DESMOND alleges

only generally that he was deprived access to adequate medical care as a result of systemic

understaffing and delays by all Defendants indivisibly, but makes no single allegation specific to

VITALCORE or any involvement of its staff in his care. DESMOND has neither alleged any actual

injury or resulting diagnosis proximately caused by VITALCORE or any other Defendants’

conduct and has not raised any allegations specifying whether he claims to have continued to

receive insufficient treatment resulting in harm since VITALCORE assumed responsibility.

         The Complaint thereafter dedicates more than 35 paragraphs to listing nondescript

instances of other nonnamed Delaware inmates are various families who allegedly have incurred

delays in treatment as “examples” purportedly demonstrating a systemic pattern of insufficient

care. Notably, none of the multiple “examples” of ineffective health care include any specificity

of dates nor distinction of which Defendants are claimed to have been involved in such delays.




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II.      Defendant-Specific Allegations

         Between April 1, 2020 and June 30, 2023, Co-Defendants Centene Corporation

(“CENTENE”) and Centurion of Delaware LLC (“CENTURION”), were responsible for

providing comprehensive healthcare services to all inmates within DDOC custody. It is alleged

that Co-Defendants chronically understaffed the correctional healthcare system during this time

and failed to train necessary professionals, resulting in systemic violations of Delaware law as well

as the Eighth and Fourteenth Amendments. It is further alleged that during this period, Co-

Defendants were repeatedly found to be out of compliance with the National Commission on

Correctional Health Care (the “NCCHC”) industry standards for health systems, requiring

corrective action. For purposes of the Motion and claims raised against VITALCORE, facts of Co-

Defendants’ alleged deficiencies and violations occurring between April 1, 2020 and June 31, 2023

are largely immaterial to VITALCORE, aside from demonstrating that Plaintiffs’ claimed issues

occurred primarily under other parties’ oversight, and not Movant’s.

         The Complaint states that relevant dates upon which the Defendants were jointly liable for

constitutional violations suffered by Plaintiffs began on or about April 1, 2020 and continued

through October 11, 2023 and beyond. The pleading expressly concedes that corporate Co-

Defendants maintained control and oversight of correctional health care between April 1, 2020

through June 30, 2020, comprising more than 38 months and a total of 1185 days of the relevant

dates at issue. In contrast, the Complaint explains that VITALCORE assumed the contract to take

over correctional health services beginning only on July 1, 2023; meaning that VITALCORE was

only involved for approximately 3 months and a total of 102 days as of the asserted dates at issue

wherein alleged systemic shortcomings in healthcare occurred. However, both counts and all

“general allegations” pertaining to the claims occuring over the full range of dates have been raised

jointly against VITALCORE and other Defendants indivisibly and without distinction.



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         While alleging great detail of systemic deficiencies in correctional health systems under

other Co-Defendants’ control and oversight over a period of 38 months of the relevant date range,

the Complaint alleges few, if any, facts specific to VITALCORE’s purported perpetuation of such

shortcomings in the three months after assuming the DDOC contract. Rather, extensive efforts are

dedicated to alleged details of the bidding process by which VITALCORE was awarded the

contract to provide DDOC healthcare beginning on July 1, 2023. Such details pertaining to the

bidding process and transition phase leading up to VITALCORE’s assumption of healthcare

responsibilities appear to be included merely as inflammatory allegations intended to question the

qualification of VITALCORE to have been awarded the contract, and are irrelevant to the claims

at issue and bear no impact on the liability of VITALCORE.

         The Complaint alleges that during a two-month transition period between May 1, 2023 and

June 30, 2023 leading up to VITALCORE’s assumption of health care responsibility, it was

provided access to operational knowledge and records of existing prison health systems. Plaintiffs

make the conclusory allegation that VITALCORE’s “access” to such information prior to

assuming the contract on July 1, 2023 made VITALCORE “aware” that Delaware prisons lacked

a functional health care system and required dramatic improvements. Without any specificity,

Plaintiffs generally allege that VITALCORE thereafter failed to take steps necessary to improve

the sufficiency of health services in Delaware prisons after assuming the contract.

         It is further alleged that VITALCORE “guaranteed” employment to all existing healthcare

workers, regardless of their competence and despite their prior “failures” under Co-Defendants’

employment and supervision. However, the Court may take judicial notice that Delaware labor

law required continuity of employment of the correctional health workforce upon VITALCORE’s

assumption of the contract unless or until specific employees demonstrated behavior warranting

discipline or termination under VITALCORE’s purview. Therefore, this allegation is merely an



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attempt to mischaracterize VITALCORE’s obligation to provide continuity of services and staff—

which were previously vetted and trained both by Co-Defendants and the DDOC—as a basis for

negligence in hiring and supervision. It is further alleged that VITALCORE’s website showed

multiple job postings as of mid-July of 2023, leading Plaintiffs to the conclusory and incorrect

assertion that the existence of available healthcare provider job openings demonstrated that

VITALCORE was “operating without necessary staff” during this time.

         Presumably because VITALCORE had only assumed contractual responsibility for

correctional health care for approximately three months as of the time the Complaint was filed,

there are virtually no allegations of any specific shortcomings, staffing issues, deficiencies in

health services, nor institutional policy prioritizing profits over inmate health raised as to

VITALCORE, despite raising such allegations against other Defendants. It is alleged vaguely that

Defendants, indivisibly, violated Plaintiffs’ constitutional rights by systemically failing to ensure

appropriate health services during the relevant dates, which have not been timely improved and

remedied by VITALCORE since its involvement beginning on July 1, 2023.

                                           ARGUMENT

I.       LEGAL STANDARD FOR MOTION TO DISMISS

         Rule 12(b)(6) provides for the dismissal of a complaint, in whole or in part, for failure to

state a claim upon which relief can be granted. Dismissal is appropriate only if, accepting all

factual allegations in the complaint as true and “drawing all reasonable inferences in the plaintiff’s

favor, no relief could be granted under any set of facts consistent with the allegations in the

complaint.” Trump Hotels & Casino Resorts v. Mirage Resorts, 140 F.3d 478, 483 (3d Cir. 1998).

The court need not assume the plaintiff can prove facts that were not alleged in the complaint, City

of Pittsburgh v. W. Penn Power Co., 147 F.3d 256, 263 (3d Cir. 1998), nor credit a complaint’s

“bald assertions” or “legal conclusions.” Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906



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(3d Cir. 1997). When considering a Rule 12(b)(6) motion, the court’s role is limited to determining

whether the plaintiff is entitled to offer evidence in support of the claims. Scheuer v. Rhodes, 416

U.S. 232, 236 (1974). Defendants bear the burden to establish the plaintiff’s complaint fails to

state a claim upon which relief can be granted. Gould Elecs., Inc. v. U.S., 220 F.3d 169, 178 (3d

Cir. 2000).

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009); Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). Before a plaintiff will be

permitted to impose the substantial burden and expense of discovery on a defendant, he must plead

evidentiary facts, and not mere conclusions which might “plausibly” suggest that the defendant

was guilty of misconduct. See id. Rather, a plaintiff must set out “a legally cognizable right of

action” and “enough facts” to make that cause of action “plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). In other words, at the motion to dismiss stage, a plaintiff is

“required to make a ‘showing’ rather than a blanket assertion of an entitlement to relief.” Smith v.

Sullivan, 2008 U.S. Dist. LEXIS 12361, at *3 (D. Del. Feb. 19, 2008) (emphasis added) (citing

Phillips v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008)).

II.      THE COMPLAINT FAILS TO STATE A VALID CONSTITUTIONAL CLAIM
         AGAINST VITALCORE UPON WHICH RELIEF MAY BE GRANTED

         A.      The Complaint is a ‘Shotgun’ Pleading in Violation of Rule 8(a)

         “[I]t is well settled in the Third Circuit that, for a Section 1983 claim to be adequately pled,

the complaint’s allegations must show that each named defendant was personally involved in the

alleged deprivations violations.” Ridge v. Campbell, 984 F. Supp. 2d 364, 375 (M.D. Pa. 2013)

(emphasis added). “‘Shotgun pleadings’ are complaints that assert numerous claims against

multiple defendants without giving adequate notice of the grounds on which the claims rest.”

Brown v. Nicklow, 2023 U.S. Dist. LEXIS 18965, at *6 (M.D. Pa. Feb. 3, 2023). As Courts


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throughout the Third Circuit have recognized, “a shotgun pleading does not give defendants

adequate notice of the claims brought against them and the grounds upon which each claim rests.”

Litwak v. Tomko, 2018 WL 1378633, at *5 (M.D. Pa. Mar. 19, 2018). Additionally, while a

“‘complaint may incorporate by reference any prior paragraphs that are necessary to pleading a

plausible cause of action, [it] may not use the improper expedient of simply incorporating by

reference all prior paragraphs, be they supportive or relevant to the cause of action or not, since

such a practice does not provide adequate notice for purposes of Rule 8.’” Fuhrman v. Mawyer,

2023 U.S. Dist. LEXIS 155820, at *41 (M.D. Pa. Sep. 1, 2023) (alterations in original) (quoting

Caruso v. Hill, 2020 U.S. Dist. LEXIS 125709, at *31 (E.D. Cal. July 15, 2020); see Lapella v.

City of Atl. City, 2012 U.S. Dist. LEXIS 100327, at *14 n.3 (D.N.J. July 18, 2012) (rejecting

“[p]laintiff’s argument that such incorporation is required under Fed. R. Civ. P. Rule 8,” explaining

that, “incorporating all preceding allegations into each count . . . [is] a shotgun pleading that

obfuscate her claims and defy the mandate of Rule 8, denying defendants of the fullest extent of

notice they are entitled”).

         Plaintiffs’ instant Complaint is the embodiment of an improper ‘shotgun pleading’ because

each of the two threadbare Counts indiscriminately incorporate all 166 paragraphs of prior counts

and allegations by reference without regard for the particular Defendants or the asserted claim

raised against each. See e.g., Bartol v. Barrowclough, 251 F. Supp. 3d 855, 859 (E.D. Pa. 2017)

(explaining basis for dismissal where a “‘complaint containing multiple counts where each count

adopts the allegations of all preceding counts’” is a shotgun pleading under the first category

identified in Weiland) (quoting Weiland v. Palm Beach Cty. Sheriff's Office, 792 F.3d 1313, 1321

(11th Cir. 2015)).    Plaintiffs’ 35 page Complaint states no specific allegation against any

Defendant, but rather rely upon the extensive background facts afforded to be incorporated by

reference to infer joint liability upon all parties for the stated history of systemic healthcare



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deficiencies. Both the factual allegations and two causes of action fail to raise any claims with

distinction or specificity among Defendants; styling the two counts as presumed joint claims raised

indivisible against all Defendants. The Complaint, as plead, states that the during the relevant dates

spanning April 1, 2020 through the present date; Constitutional violations occurred which are now

are charged to all Defendants. Clearly, VITALCORE cannot be claimed liable for deficiencies

alleged to have occurred during the 38 months prior to VITALCORE’s assumption of the control

and control of health services, though the Complaint is plead as such. Such style of pleading

comingling parties and relevant dates is a prohibited because it deprives Moving Defendant fair

notice of what claims are actually raised against from its period of involvement beginning only on

July 1, 2023 with distinction from other named Defendants.

         For instance, in Adger v. Carney, 2020 U.S. Dist. LEXIS 52533 (D. Del. Mar. 26, 2020),

this Court agreed with the correctional defendants challenging a complaint styled almost

identically to the instant action, finding that it was essentially a “shotgun pleading” which did not

comply with Rule 8’s requirement of “a short and plain statement of the claim showing that the

pleader is entitled to relief,” warranting dismissal. Id. at *16-17. Here, Plaintiffs’ ‘shotgun’ style

of pleading comingles allegations and fails to distinguish which Defendants are charged with

purported violative conduct, what each Defendant allegedly did to violate Plaintiffs’ rights, nor

when such violative conduct allegedly occurred. However, Plaintiffs own allegations make clear

that VITALCORE’s contract to assume correctional healthcare responsibilities did not occur until

July 1, 2023. Therefore, Plaintiffs’ general ‘factual allegations’ involving care and conduct prior

to July 1, 2023 cannot be considered for sufficiency of claims pertaining to Movant for purposes

of this Motion, as VITALCORE clearly cannot be charged for actions carried out by other parties

during extensive periods prior to its first involvement in DDOC services. It has been repeatedly

held that “[t]he plaintiff who files such a shotgun complaint shifts onto the defendant and the court



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the burden of identifying the plaintiff’s genuine claims and determining which of those claims

might have legal support. This is not the job of either a Defendant or the Court.” Talley v. Harper,

2017 U.S. Dist. LEXIS 12837, at *4 (W.D. Pa. Jan. 31, 2017). Accordingly, the Complaint violates

Rule 8(a)(2).

         B.     The Complaint Alleges Insufficient Facts to Establish a §1983 Claim
                Against VitalCore Under Rule 12(b)(6)

         In addition to Plaintiffs’ ‘shotgun’ style of pleading, the Complaint raises virtually no

specific allegation of dates or instances of deficient care or delays in diagnosis as to any Plaintiffs

directly involving VITALCORE or its staff. The pleading fails to allege any direct involvement of

VITALCORE in creating or implementing which contributed to Constitutional violations claimed

by Plaintiffs or other inmates. Rather, the Complaint alleges only generally that since July 1, 2023

through the present date, “VITALCORE has failed to remedy the constitutional and statutory

failings of the Delaware prison health systems despite being awarded a contract over three years

to do so.” Compl. ¶ 149.

         In a general background section titled “Defendant VitalCore is Acting with Deliberate

Indifference by Intentionally Delaying or Denying Health Care for Serious Medical Needs,”

Plaintiffs dedicate nearly 20 paragraphs to explaining the bidding process and contractual

provisions for the DDOC contract awarded to VITALCORE, which are immaterial to a §1983

deliberate indifference claim. However, Plaintiffs make no specific allegation of any knowledge,

direct involvement, conduct, nor medical care carried out by VITALCORE or any of its agents

constituting deliberate indifference in this section or elsewhere throughout the Complaint. Valid

deliberate indifference claims under §1983 claims require a plausible showing both (1) that each

Defendant was aware of a serious medical need; (2) and that Defendant was actively involved in

conduct to deliberately ignore or fail to properly provide medical treatment. Thus, the instant

Complaint, which fails to allege any specific conduct plausibly giving rise to a deliberate


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indifference claim against VITALCORE, fails to state a cognizable §1983 cause of action.

         Plaintiffs seek to invoke the Eighth Amendment in order to support their claims against

Defendants. The Eighth Amendment expressly prohibits the infliction of “cruel and unusual

punishments” and protects inmates from inhumane treatment while imprisoned. U.S. Const.

amend. VIII. The Supreme Court discussed the extent of a prisoner’s right to medical attention in

Estelle v. Gamble, 429 U.S. 97 (1976), and explained only “deliberate indifference to serious

medical needs of prisoners’ violates the Eighth Amendment. Id. at 104.

         A deliberate indifference claim has both objective and subjective components. Farmer v.

Brennan, 511 U.S. 825, 838 (1994). To satisfy both the objective and subjective components of a

§1983 claim, Plaintiffs must first show that the alleged deprivation(s) were sufficiently serious and

must show that each Defendant, including VITALCORE, acted with deliberate indifference to

their health and safety. Id. Only when an action meets both the objective and subjective elements

will it offend the “evolving standards of decency” in such a way as to violate the Eighth

Amendment’s prohibition against “unnecessary and wanton infliction of pain[.]” Id. at 835, 860.

“Only extreme deprivations” are sufficient to constitute a violation of the Eighth Amendment.

De’Lonta v. Angelone, 330 F.3d 630, 634 (4th Cir. 2003).

         In essence, to avoid dismissal for failure to state a §1983 claim, Plaintiffs’ civil rights

Complaint must have stated the specific conduct, time, place, and persons responsible for the

alleged civil rights violations. Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir. 2005). The Complaint

fails to plead even basic facts sufficient to establish the who, what, and where details of Plaintiffs’

purported constitutional violations as to any Defendant, especially not as to VITALCORE.

                (1)     1983 Claims Cannot be Based on Vicarious or Joint Liability

         Because the Complaint alleges virtually no conduct specific to VITALCORE, it is

presumed that purported liability alleged against Movant is intended to be asserted jointly or



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vicariously with other parties. Specifically, the pleading alleges only that VITALCORE failed to

timely remedy the constitutional and statutory failings of other Defendants upon assuming the

contract on July 1, 2023, apparently seeking to hold VITALCORE liable for the prior negligence

of other parties for which it was successor and had no direct involvement nor control over.

         As a preliminary issue, Plaintiffs’ §1983 claims against Movant are subject to dismissal on

the grounds that VITALCORE is not a ‘person,’ and is thus is “not a ‘person’ amenable to suit,”

and “is not subject to liability under 42 U.S.C. § 1983.” Talley v. Supreme Court of Pa., 2019 U.S.

Dist. LEXIS 87967, at *26-27 (M.D. Pa. May 23, 2019). Further, Plaintiffs’ claims against

VITALCORE seeking to impute liability for longstanding institutional failures is misdirected

against Movant and fails to assert a breach.

         It is well established that in §1983 actions liability cannot be “predicated solely on the

operation of respondeat superior” or vicarious liability. Rode v. Dellarciprete, 845 F.2d 1195, 1207

(3d Cir. 1988). Rather, a §1983 Plaintiff must aver facts that demonstrate “the defendants’ personal

involvement in the alleged misconduct.” Dooley v. Wetzel, 957 F.3d 366, 374 (3d Cir. 2020)

(emphasis added). Personal involvement can include direct wrongful conduct by a Defendant or

its agents, but it can also be demonstrated through allegations of “personal direction” or of “actual

knowledge and acquiescence” however, such averments must be made with particularity. Id. Here,

the Complaint is substantially void of any allegations of individual conduct fairly charged to

VITALCORE, let alone allegations of its actual knowledge, personal involvement, or

acquiescence to misconduct.

         Actual knowledge or awareness on the part of the alleged inflictor is essential to proof of

deliberate indifference because “prison officials who lacked knowledge of a risk cannot be said to

have inflicted punishment[.]” Farmer, 511 U.S. at 844. Under the progeny of Iqbal, Estelle and

Farmer, it is clear that an Eighth Amendment claim is properly plead only when it is alleged that



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the defendant actually knew of and consciously disregarded a detainee’s medical needs. See, e.g.,

Iqbal, 556 U.S. 662; Estelle, 429 U.S. 97. To state a claim under 42 U.S.C. § 1983, an individual

“defendant in a civil rights action must have personal involvement in the alleged wrongdoing;

liability cannot be predicated solely on the operation of vicarious theories. Personal involvement

‘can be shown through allegations of personal direction or of actual knowledge and

acquiescence.’” Evancho, 423 F.3d at 353.

         Even assuming that knowledge and acquiescence could be sufficient as a basis for liability

under §1983, see generally Williams v. Papi, 714 F. App’x 128, 133 (3d Cir. 2017) (noting that

Iqbal “arguably narrowed the ability to find a supervisor liable for conduct of which he was merely

aware but did not direct”), Plaintiffs’ instant Complaint complaining of delays and denials of

prison health services largely occurring prior to July 1st is grievously insufficient to meet the

requirements for such liability to be extended to VITALCORE as successor. Plaintiffs do not allege

any actions by VITALCORE showing or even suggesting personal direction or actual knowledge

and acquiescence of wrongful conduct through its actions or health policies it set in place.

         Plaintiffs’ allegations further fail to set forth a duty owed by VITALCORE distinct from

other parties. Under Delaware law, it is the Commissioner of Correction, not contracted providers,

who have “full and active charge” of the Department’s facilities and services, and who is required

to “provide for” the “treatment” of persons committed to DOC.” 11 Del. C. §§ 6516, 6517. This

reduces, if not eliminates, any opportunity for VITALCORE to have been directly involved nor

held liable for the alleged conduct of longstanding systemic failures of correctional heath.

VITALCORE is referenced only sparingly throughout the Complaint, with virtually no allegations

of direct involvement and no distinction from other Defendants. By failing to allege any specific

instances of violative conduct occurring under VITALCORE’s control nor identifying any staff

member it employed engaging in such conduct, Plaintiffs cannot claim Movant as “having been



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involved personally, or been aware of and ratified the abuse or constitutional violations of inmates

from April 1, 2020.” Allegations against VITALCORE, even viewed favorably, are insufficient to

show the requisite degree of involvement in abuse or deliberate indifference to its continuance.

               (2)     The Complaint Alleges No Deficiencies in Care Rising to the
                       Level of Eight Amendment Deliberate Indifference

         With respect to Plaintiff’s allegations of inadequate medical treatment and medical

accommodations, the Eighth Amendment “requires prison officials to provide basic medical

treatment to those whom it has incarcerated.” Rhines v. Bledsoe, 2009 U.S. Dist. LEXIS 152772,

at *13 (M.D. Pa. Dec. 18, 2009). In the context of medical care, the relevant inquiry is whether

each Defendant was: (1) deliberately indifferent (the subjective element) to (2) plaintiffs serious

medical needs (the objective element). Farmer, 511 U.S. at 835. Thus, a pleading, at minimum,

needs to allege enough facts specific to each Defendant to sufficiently put each Defendant “on

notice of what they are accused of doing.” Adger, 2020 U.S. Dist. LEXIS 52533, at *21. To

adequately state a claim under these circumstances, Plaintiffs must have alleged facts making it

plausible to believe that VITALCORE was a knowing and active participant in alleged ‘systemic

shortcomings” and “institutional violations” of Constitutionally protected rights to health care

since April 1, 2020, and have not. Plaintiffs similarly failed to allege the injuries each suffered as

a result of VITALCORE, including how, why, and when such conduct occurred.

         The Complaint correctly alleges that VITALCORE only became involved in their

healthcare at DDOC correctional facilities after July 1, 2023. However, the comingled nature of

the allegations seems to attempt to impute liability to VITALCORE, as successor assuming the

duty of care after other Defendants had negligently managed Plaintiffs’ symptoms, became jointly

liable for failing to timely rectify prior shortcomings of other parties resulting in the totality of

Plaintiffs’ claimed harms. Participation in the after-the-fact is not enough to establish personal

involvement. Rode, 845 F.2d at 1208 (finding the filing of a grievance is not enough to show the

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actual knowledge necessary for personal involvement); see also Brooks v. Beard, 167 F.Appx.

923, 925 (3d Cir. Feb. 14, 2006) (holding that a state prisoner’s allegation that prison officials and

administrators responded inappropriately, or failed to respond to a prison grievance, did not

establish that the officials and administrators were involved in the underlying allegedly

unconstitutional conduct.) Therefore, all Plaintiffs’ constitutional claims jointly raised against

VITALCORE without distinction are insufficient should be dismissed.

         Additionally, only egregious and intentional acts or omissions can violate this standard,

mere negligence and even medical malpractice cannot result in an Eighth Amendment violation,

nor can disagreements over a prison physician’s medical judgment. White v. Napoleon, 897 F.2d

103, 108-10 (3d Cir. 1990). A complaint that a physician or a medical department “has been

negligent in diagnosing or treating a medical condition does not state a valid claim of medical

mistreatment under the Eighth Amendment[.]” Estelle, 429 U.S. at 106 (emphasis added). For

example, a “medical decision not to order an X-ray, or like measures, does not represent cruel and

unusual punishment. At most it is medical malpractice.” Id. at 107. “Allegations of medical

malpractice or medical neglected are not sufficient to establish a Constitutional violation.” Spruill

v. Gillis, 372 F.3d 218, 235 (3d Cir. 2004) (emphasis added). In sum, negligence, unsuccessful

medical treatment, or medical malpractice do not give rise to a §1983 cause, and inmates’

disagreement with medical treatment does not establish deliberate indifference. Durmer v.

O’Carroll, 991 F.2d 64, 69 (3d Cir. 1993).

         If there is an apparent dispute over the adequacy or timeliness of the received treatment,

courts have consistently been reluctant to second guess the medical judgment of the attending

physician. Little v. Lycoming Cnty., 912 F. Supp. 809, 815 (M.D. Pa.), aff’d, 101 F.3d 691 (3d Cir.

1996). The key question is whether the defendant has provided the plaintiff with some type of

treatment, regardless of whether it is what the plaintiff desires. Farmer v. Carlson, 685 F. Supp.



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1335, 1339 (M.D. Pa. 1988). Here, Plaintiffs’ claims seem to involve delays or unsatisfactory

response to named Plaintiffs’ medical complaints and needs such as GOVAN’s alleged delay in

receiving a colonoscopy believed to be urgently needed. Even taken as true, such generalized

delays in treatment or diagnosis, many of which allegedly occurring prior to VITALCORE’s

involvement, are insufficient to establish an actionable Eight Amendment claim.

         Moreover, Plaintiffs’ disagreement with the fact that the prison medical department did not

immediately refer them for imaging to specialist consultation does not serve as a predicate to

liability under § 1983. See White, 897 F.2d at 108-11 (“[N]o claim is stated when a doctor disagrees

with the professional judgment of another doctor. There may, for example, be several acceptable

ways to treat an illness.”). This is particularly so in light of the fact that there is no allegation or

indication in the instant pleading that VITALCORE or its agents intentionally or knowingly

withheld any medical treatment from Plaintiffs in order to inflict pain or harm upon them since

their involvement beginning on July 1st.

         Finally, with respect to Plaintiffs’ comingled claims for declaratory and injunctive relief,

the adjudicatory power of a federal court depends upon “the continuing existence of a live and

acute controversy.” Steffel v. Thompson, 415 U.S. 452, 459 (1974). “The rule in federal cases is

that an actual controversy must be extant at all stages of review, not merely at the time the

complaint is filed.” Id. at 459 n.10 (citations omitted). “Past exposure to illegal conduct is

insufficient to sustain a present case or controversy regarding injunctive relief if unaccompanied

by continuing, present adverse effects.” Rosenberg v. Meese, 622 F. Supp. 1451, 1462 (S.D.N.Y.

1985)(emphasis added). The instant Complaint alleges a pattern of specific conduct occuring over

the course of years prior to VITALCORE’s involvement which may infer indifference, but fails

to allege any allegation specific to VITALCORE to suggest that it engaged in violative conduct or

inaction since July 1, 2023 as would be necessary to establish an ongoing issue and actual



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controversy warranting injunctive or declaratory relief. Accordingly, Plaintiffs’ claims for

injunctive relief alleged generally against VITALCORE jointly along with other Defendants for

prior systemic failures are insufficient and should be similarly dismissed.

                (3)     The Complaint Fails to Plead Recoverable Damages

         None of the named Plaintiffs have alleged facts of actual injury proximately caused by

VITALCORE sufficient to sustain a valid claim for recoverable compensatory damages. If

Plaintiffs are seeking compensatory damages, or damages for emotional injuries, then he must

demonstrate physical injury proximately caused by the defendant’s actions. See Davis v. Yates,

2020 U.S. Dist. LEXIS 17758, at *35 (see also 42 U.S.C. § 1997e(e), providing that “[n]o Federal

civil action may be brought by a prisoner confined in a jail, prison, or other correctional facility,

for mental or emotional injury suffered while in custody without a prior showing of physical

injury”). The Third Circuit is clear that under the PLRA, a prisoner must allege he suffered physical

injury to bring a claim. Jacobs v. P’. Dep't of Corrections, 2011 U.S. Dist. LEXIS 60869, at *64

(W.D. Pa. June 7, 2011).

         Here, the three Plaintiffs have failed to sufficiently allege any actual injury or medical

condition resulting or arising from VITALCORE’s conduct. Plaintiff SAMUEL alleges that he

raised urgent medical concerns until approximately February 7, 2023, prior to Movant’s

involvement. SAMUEL claims he has been put at risk of future injury by being denied timely

specialist consultations, but has not alleged that such speculative risk of future harm was caused

or exacerbated by VITALCORE. In fact, SAMUEL expressly alleged that he finally received

overdue treatment including a bone scan and colonoscopy upon VITALCORE’s assumption of

correctional healthcare duties. Likewise, Plaintiff GOVAN alleges no actual injury against any

Defendant, let alone specific to VITALCORE. GOVAN has alleged only that he has been rendered

unaware if he suffers any actual medical condition or injury by being denied or delayed specialist



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consultation. GOVAN’s allegations, which are speculative and not directed at any Defendant, do

not state any dates upon which delays in treatment allegedly occurred. Therefore, GOVAN’s

injuries, even if better alleged, cannot be attributed to VITALCORE. Finally, Plaintiff DESMOND

alleged that his medications for diagnosed illnesses were improperly withheld for 47 days as a

form of discipline, but does not allege when such denial of medications occurred nor whether he

suffered from any resulting injury or medical condition as a result of being deprived medications.

Therefore, DESMOND has not sufficiently alleged any actual injury, nor any conduct plausibly

inferring the basis for an injury caused by VITALCORE nor occuring during its limited period of

involvement after July 1st.

         Plaintiffs have similarly failed to allege sufficient facts to infer a plausible basis for

injunctive or declaratory relief against VITALCORE. Talley v. Supreme Court of Pennsylvania is

a case of very similar circumstances, wherein the plaintiff sought injunctive relief against several

correctional defendants. Talley, 2019 U.S. Dist. LEXIS 87967. In Talley, the court held that the

plaintiff’s claims sought to compel certain procedures that pertained to correctional conditions of

health services programming of the DOC, which caused the claims to fail without a greater

showing of future harm from existing policy. “[A]n essential prerequisite to the grant of a

preliminary injunction is a showing by the movant of irreparable injury pendente lite if the relief

is not granted.” United States v. Pennsylvania, 533 F.2d 107, 110 (3d Cir. 1976). Indeed, an

injunction “may not be used simply to eliminate a possibility of a remote future injury.” Holiday

Inns of Am. v. B & B Corp., 409 F.2d 614, 618 (3d Cir. 1969). “[T]he irreparable harm must be

actual and imminent, not merely speculative.” Angstadt ex rel. Angstadt v. Midd-W. Sch. Dist., 182

F. Supp. 2d 435, 437 (M.D. Pa. 2002). Further, “[an] injunction cannot be issued based on past

harm. Fisher v. Goord, 981 F. Supp. 140, 168 (W.D.N.Y. 1997) (emphasis added).




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         In determining appropriateness of declaratory relief, the court must consider whether such

relief will resolve an uncertainty giving rise to a controversy, the convenience of the parties, the

public interest, and the availability of other remedies. Ridge, 984 F. Supp. 2d at 373-74. Here,

Plaintiffs have failed to meet the burden of establishing why correctional health policy changes, if

in fact warranted, could not be achieved by means short of declaratory relief awarded against

VITALCORE. When construed in the light most favorable to Plaintiffs, the Complaint does not

state any specific policy enacted or perpetuated by VITALCORE warranting change to prevent

future harm to Plaintiffs. Further, the Complaint does not demonstrate that any future harm in

connection with Plaintiffs’ claims for injunctive relief against VITALCORE is imminent, as

opposed to speculative. Thus, this Court should find that Plaintiffs’ claims for injunctive and

declaratory relief, if intended to be jointly asserted against VITALCORE, are improper.

         C.     Plaintiffs Do Not Allege Actual Injury or Concrete Harm Proximately
                Caused by VitalCore Necessary to Confer Standing

         The Complaint raises claims on behalf of three individually named Plaintiffs who are each

inmates claiming to have unique medical needs which were improperly managed by correctional

health providers between April of 2020 through the present date. The pleading alleges several

specific encounters and dates of substandard treatment of these individually named Plaintiffs

occurring under other Defendants’ prior purview; but does not state any specific instances

involving care rendered or omitted by VITALCORE. Most significantly, none of the three

Plaintiffs allege any actual injury resulting from the alleged deficiencies in correctional healthcare

nor do Plaintiffs claim any concrete or even intangible future harms proximately caused by

VITALCORE’s distinct role or involvement in their healthcare.

         The irreducible constitutional minimum of standing contains three elements. The first

element of standing, injury in act, “is often determinative.” Toll Bros. v. Twp. of Readington, 555

F.3d 131, 138 (3d Cir. 2009). The injury must be “concrete,” meaning that it is real “‘distinct and

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palpable, as opposed to merely abstract.’” Diaz v. FCA US L.L.C., 2022 U.S. Dist. LEXIS 158865

(D. Del. Sept. 2, 2022) (quoting N.J. Physicians, Inc. v. President of the U.S., 653 F.3d 234, 238

(3d Cir. 2011)). Further, there must also be a demonstrable causal connection between the injury

and the conduct complained of specific to the Defendants; meaning that the alleged injury must be

fairly traceable to the challenged action of each Defendant. Id.

         Under 42 U.S.C. § 1997e of the PLRA, a prisoner must suffer a physical injury to bring a

claim. Compensatory damages under § 1983 are governed by general tort-law compensation

theory. In other words, damages are available under §1983 for actions found to have been violative

of constitutional rights proximately causing compensable injury, not speculative injuries or risk of

future harms. Allah v. Al-Hafeez, 226 F.3d 247, 250-52 (3d Cir. 2000). Here, none of the named

Plaintiffs have alleged any actual injury or medical condition resulting as a direct and proximate

result of VITALCORE’s conduct nor occurring under VITALCORE’s purview on or after July 1,

2023. In fact, Plaintiff GOVAN has expressly conceded that he has not yet been assessed by a

specialist so he is not aware if he has any actual medical condition or injury. At best, the Plaintiffs

have alleged that they each suffer from apprehension and generalized future risk to their health

due to prolonged prior delays in obtaining medical treatment and specialist consultations, which

is not sufficient to establish a concrete injury necessary to confer standing.

         The Complaint likewise fails to allege sufficient facts to support the objective component

of an Eighth Amendment claim, which requires the Plaintiffs, each, to show that they were

suffering from a serious medical condition or injury that was adversely impacted by each

Defendant’s actions. See Estelle, 429 U.S. at 106. A Plaintiff must allege that he has a serious

medical need “diagnosed by a physician as mandating treatment or one that is so obvious that even

a lay person could easily recognize the necessity for a doctor’s attention.” Iko v. Shreve, 535 F.3d

225, 241 (4th Cir. 2008) (internal quotations omitted). The claims raised by Plaintiffs in this case



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fall short of the “obviously serious medical need” threshold. For example, GOVAN alleged that

he has not yet received a recommended consultation so he is unable to ascertain if he even has a

serious medical condition, essentially acknowledging that his claim is based upon his own held

beliefs and speculation. Additionally, DESMOND claims that he has the common diagnosis of

hypertension and was previously denied medications for 47 days, but does not state whether such

delay resulted in any adverse health affect nor whether his health has been comprised or put at

ongoing risk. However, “[e]ven on a motion to dismiss [the Court is] not required to credit mere

speculation.” Zavala v. Wal-Mart Stores Inc., 691 F.3d 527, 542 (3d Cir. 2012) (emphasis added).

Thus, the Complaint fails to state a viable §1983 claim against VITALCORE for Plaintiffs’ stated

claims and speculative injuries.

         To avoid dismissal, a civil rights complaint must state the conduct, time, place, and persons

responsible for the alleged civil rights violations. Evancho, 423 F.3d at 353. Accordingly, as here

where Plaintiffs failed to plead any facts concerning an injury to any Plaintiff and the only specific

injury recounted is to other inmates not a party to this action, Plaintiffs have failed to adequately

state a claim. Plaintiffs’ injuries, even assumed true, are nondescript and speculative and do not

constitute a “serious” medical need as no physician is alleged to have diagnosed Plaintiffs with an

illness or condition requiring treatment that was denied or withheld by VITALCORE.

II.      PLAINTIFFS’ STATE LAW CLAIMS AGAINST VITALCORE ALSO FAIL

         A.     State Law Claims for Discretionary Function are Barred by DTSCA

         The Complaint names no specific VITALCORE employees or agents allegedly involved

in the systemic failures and claims suffered by Plaintiffs. However, because any government-

contracted medical staff working under the purview of VITALCORE would be considered an

employee serving a ‘public function,’ the Court must first address whether the DSTCA precludes




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such claims altogether. Under the DSTCA, public employees or contracted agents of a public

agency are immune from suit when:

         (1) The act or omission complained of arose out of and in connection with the
         performance of an official duty requiring a determination of policy, the
         interpretation or enforcement of statutes, rules or regulations, the granting or
         withholding of publicly created or regulated entitlement or privilege or any other
         official duty involving the exercise of discretion on the part of the public officer,
         employee or member, or anyone over whom the public officer, employee or
         member shall have supervisory authority; and (2) The act or omission complained
         of was done without gross or wanton negligence.

10 Del. C. § 4001. The Delaware Supreme Court has determined that wherever the tortious actions

of individual defendants alleged in a complaint involve the exercise of discretion, claims based on

those actions must be barred unless such actions could be demonstrated to have been performed in

a grossly negligent or reckless manner. Greenfield v. Miles, 211 A.3d 1087, 1095 (Del. 2019).

The Superior’ Court’s conclusion in similar matters has been consistent in that Defendants such

as VITALCORE employing persons serving a public function and utilizing discretion in their

services are immune from suit under the DTSC. Id.

         To survive a dismissal where DSTCA immunity is asserted, the Plaintiffs must sufficiently

allege either gross negligence or that Defendants’ act was ministerial, not discretionary. Castro v.

New Castle Cnty. Voc. Tech. Sch. Dist., 2016 Del. C.P. LEXIS 77, at *3-4 (Aug. 23, 2016).

Accordingly, immunity under § 4001 applies to discretionary acts or omissions whenever "done

without gross or wanton negligence.” 10 Del. C. § 4001. Further, Delaware prohibits infliction of

cruel punishments and requires the construction of jails with proper regard for prisoner health. Del.

Const. Art. I, § 11.

         This District Court has previously dismissed a prisoner-plaintiff’s nearly identical state law

counts because it predicted that the Delaware state courts would decline to find a private right of

action with respect to Del. Const. Art. I, § 11. In Winter v. Richman, this Court held that the

prisoner-plaintiff had alternative remedies available to her under the Eighth Amendment, and she


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had brought claims under that provision. 2020 U.S. Dist. LEXIS 222022, at *4-5 (D. Del. Nov.

25, 2020). In assessing similar alleged facts in Winter, this Court dismissed the action further

holding that the prisoner “failed to address step two of the qualified immunity test: whether the

constitutional right at issue was clearly established at the time of the purported misconduct[,]”

because she did not to explain (or even address) how prison officials could be found to have

violated a clearly established right. Id. at *10

         Here, VITALCORE and its agents not specifically identified in the Complaint were, at all

times, performing a public function carrying out health services on behalf of the DDOC. The act

of administering health care is discretionary in nature and the Complaint neither alleges nor infers

any conduct of VITALCORE suggesting intentional, gross, or wanton negligence. Therefore, all

state law negligence claims in Count II of Plaintiffs’ Complaint raised against VITALCORE or its

agents are precluded under the DSTCA and should be dismissed.

         B.     Claims for Negligent Hiring are Insufficiently Plead

         To the extent Plaintiffs are attempting to impose liability on VITALCORE for failure to

adequately hire or train medical staff, they must demonstrate that each Defendants’ “failure to

train proximately caused [their] constitutional injury by identifying a particular failure in a training

program that is ‘closed related to the ultimate injury.’” Buoniconti v. City of Phila., 148 F. Supp.

3d 425, 441 (E.D. Pa. 2015) (internal quotations omitted). As here, where Plaintiffs have failed to

plead any detailed allegation of traceable connexity between VITALCORE’s nondescript conduct

in hiring or training staff and Plaintiffs’ alleged harms, the Complaint fails to adequately state a

claim for negligent failure to train. Adger, 2020 U.S. Dist. LEXIS 52533.

         An employer is liable for negligent hiring or supervision only if “the employer is negligent

in giving improper or ambiguous orders or in failing to make proper regulations, or in the

employment of improper persons involving risk of harm to others, or in the supervision of the



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employee's activity.” Root v. Wilmington, 2022 Del. Super. LEXIS 1384, at *7 (Del. Super. 2022)

(internal quotations omitted). Under Delaware law, to have stated a claim for negligent hiring,

Plaintiffs in this cause would need to expressly allege that VITALCORE was on actual notice of

employees’ specific tortious behavior at the time they was hired. Such facts could not be alleged

in this case as the Complaint makes clear that other Defendants, and not VITALCORE, initially

hired and trained the correctional health workforce which was retained for continuity of services

upon VITALCORE’s assumption of the DDOC contract on July 1, 2023.

         Plaintiffs failed to allege VITALCORE had actual or constructive knowledge of any

employees’ prior tortious behavior at the time they were assumed into the care staff under

VITALCORE’s purview. The acts of CENTENE or other Defendants are not extended to

VITALCORE where Plaintiffs fail to sufficiently allege actual knowledge, acquiescence, and

involvement of VITALCORE as a parent (successor) company in retaining employees with prior

tortious conduct. For this reason, Plaintiffs’ negligent hiring claim should be dismissed.

         Finally, Delaware courts have recognized that an employer is liable for negligent

supervision only where the employer is demonstratively negligent “in the employment of improper

persons involving substantial risk of harm to others or in the supervision of the employee's

activities.” Fanean v. Rite Aid Corp. of Del., Inc., 984 A.2d 812, 826 (Del. Super. 2009) (internal

quotations omitted). It is well-established that negligent supervision claims under Delaware law

require showing of knowing and direct liability of the employer rather than its employee's

negligence imputed through vicarious liability. Id. Direct negligence claims require that the

employer be on notice. “The deciding factor is whether the employer had or should have had

knowledge of the necessity to exercise control over its employee.” Id. (quotations omitted).

         To have sufficiently stated a claim for negligent hiring and retention against VITALCORE,

the Complaint needed to allege that Defendant had distinct actual notice of the risk of tortious



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behavior of correctional staff at the it assumed them as employees. The Complaint, which states

only that VITALCORE had some access to correctional health records and systems during two-

month transition period prior to July 1, 2022, fails to meet this burden of pleading actual

knowledge. This Court cannot draw any inference from the instant Complaint that VITALCORE

knew or should have known of a legitimate risk to health and safety posed by specific employees

at the time of hiring and assumption of the contract. Therefore, the negligent hiring claims must

be dismissed.

         Delaware courts interpreting the DSTCA have held that the decision to hire is a

discretionary decision. See generally, Gutierrez v. Advanced Student Transp., Inc., 2015 Del.

Super. LEXIS 352 (Del. Super. July 14, 2015). Thus, to sufficiently plead the inapplicability of

the DSTCA for the state law negligent hiring and supervision claims in Count II, Plaintiffs were

required to plead facts to support a contention that VITALCORE was grossly negligent in hiring

existing correctional staff upon assuming contractual control. Plaintiffs have failed to allege any

requisite facts to waive or absolve DSTCA immunities for state law negligent hiring claims.

III.     PLAINTIFFS FAILED TO EXHAUST                      ADMINISTRATIVE            REMEDIES
         REQUIRED BEFORE FILING SUIT

         The PLRA provides that no action may be brought with respect to prison conditions under

42 U.S.C. §1983 by a prisoner confined in any correctional facility until such administrative

remedies available are exhausted, as required by 42 U.S.C. § 1997e(a). The Plaintiffs in this case,

both in their individual and representative capacities, are incarcerated individuals who are

indisputably subject to provision of PLRA.

         The PLRA “exhaustion requirement” is indeed to serve as a deterrent for frivolous

litigation by creating a mandatory prerequisite that: “[n]o action shall be brought with respect to

prison conditions under section 1983, or any other Federal law, by a prisoner confined in any

correctional facility until administrative remedies can be shown to be exhausted.” Miller v. Corr.


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Officer Berrios, 2023 U.S. Dist. LEXIS 84419, at *13 (D.N.J. May 15, 2023)(emphasis added).

Codification of Section 8804(g) further requires exhaustion of administrative remedies available

through the institutional grievance process before filing a complaint relating to a condition of

correctional confinement. See Alston v. Penn State Health Milton S. Hershey Med. Ctr., 2023 U.S.

Dist. LEXIS 141774, at *9 (M.D. Pa. Aug. 14, 2023) (“a fundamental purpose of the exhaustion

requirement is to provide a defendant with notice of a pending discrimination claim”). “PLRA

exhaustion is mandatory, and inmates must exhaust all available remedies” before filing suit.

Miller, 2023 U.S. Dist. LEXIS 84419, at *13 (emphasis added). Exhaustion “requires compliance

with deadlines and other critical procedural rules[.]” Ramirez v. Collier, 142 S. Ct. 1264, 1275

(2022)(internal quotations and citations omitted). Remedies need not be exhausted only when

“prison administrators thwart inmates from taking advantage of a grievance process through

machination, misrepresentation, or intimidation,” which has not been plead to have occurred here.

Ross v. Blake, 578 U.S. 643, 643 (2016).

         Plaintiffs have not alleged or even vaguely suggested that any pre-litigation administrative

remedy processes were completed nor even attempted before filing suit. The Complaint neither

contains any allegation inferred that Defendants somehow denied deprived Plaintiffs the ability to

first raise their correctional health concerns in an administrative grievance process before filing

suit. Therefore, Plaintiffs failed to plead sufficient facts to demonstrate that administrative

remedies were exhausted or attempted and have not claimed any circumstances which may excuse

why this requirement could not have been met before commencing suit.

IV.      VITALCORE IS IMMUNE DESPITE HOW CLAIMS WERE PLEAD

         A.     Claims Against VitalCore are Barred by the Eleventh Amendment

         Plaintiffs’ claims against VITALCORE should be barred by the Eleventh Amendment as

claims against a contracted arm of the state acting in official capacity are improper as a matter of



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law. Bd. of Trs. v. Garrett, 531 U.S. 356, 363 (2001). Widely accepted law prescribes that claims

against a prison official or agent in an individual or official capacity may be permitted only if

Plaintiffs can plausibly allege that VITALCORE’s individual conduct constituted deliberate

indifference to each Plaintiff’s serious medical needs resulting in actual harm. Importantly, the

test is not if in hindsight the action was wrongful, but whether it was “clearly forbidden” on dates

alleged. See Rogers v. Pendleton, 249 F.3d 279, 286 (4th Cir. 2001)(citation omitted).

         To qualify for an exemption to immunity, it must be clear to the “reasonable correctional

officer or agency” that the offending conduct was unlawful in the relevant situation. See Saucier

v. Katz, 533 U.S. 194, 202 (2001); Pearson v. Callahan, 555 U.S. 223 (2009). Here, Plaintiffs have

failed to alleged any facts even suggesting that VITALCORE committed acts that were unlawful

or “clearly forbidden” during relevant times. Because Plaintiffs have not and cannot establish any

constitutional violation or illegal conduct fairly chargeable to Defendant VITALCORE, it should

be entitled to derivative application of both sovereign and qualified immunity shields from liability

for claims against , whether intended in an individual or official capacity.

         The law is equally unambiguous that any claim against VITALCORE or its agents acting

within a capacity on behalf of the DDOC must be dismissed. Ky. v. Graham, 473 U.S. 159, 165-

66 (1985)(reasoning that lawsuits against a government employee an official capacity represents

“‘another way of pleading an action against an entity of which the officer is an agent’”). 42 U.S.C.

§ 1983 imposes liability based on an official capacity claim, only if an “action pursuant to official

municipal policy of some nature caused a constitutional tort.” Monell v. Dep’t of Soc. Servs., 436

U.S. 658, 691 (1978). Here, there have not been any allegations raised against VITALCORE of

purposeful of deliberate indifference based upon its individual involvement in inmate health

services as rendered to Plaintiffs, so immunity continues to apply.




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         B.     VITALCORE is Entitled to Qualified Immunity Under Delaware Law

         In Delaware, public officials are exempt and immune from suit when performing official

duties involving the exercise of discretion and when performed in good faith and without gross or

wanton negligence. Pursuant to the DSTCA, VITALCORE and its agent would be entitled to

immunity from tort claims resulting from their own negligent acts or omissions, unless such

immunity was expressly waived by statute or is overcome by the Plaintiffs alleging facts which

demonstrate either (i) a ministerial act; (ii) bad faith; or (iii) that the action was done with gross or

wanton negligence. 10 Del. C. § 4001.

         The DSTCA further “requires that plaintiff allege facts, with particularity, which would

demonstrate gross or wanton negligence on behalf of the state.” Robinson v. Christiana Sch. Dist.,

2022 Del. Super. LEXIS 804, at *20 (Del. Super. Sep. 21, 2022). Furthermore, “[p]ursuant to

Superior Court Civil Rule 9(b), Plaintiffs must state the circumstances constituting gross

negligence with particularity. Gross negligence requires a showing of a high level of negligence

that constitutes an extreme departure from the ordinary standard of care.” Id. (internal quotations

omitted). Here, Plaintiffs have not alleged any specific involvement or action carried out by

VITALCORE or its agents resulting in injury, have not plead any conduct plausibly attributable to

VITALCORE constituting intentional or gross negligence under the heightened specificity

requirements to overcome DSTCA immunity, and have not plead and any legislative act

constituting a waiver of Defendants’ immunity. Therefore, DTSCA immunity applies to Plaintiffs’

instant claims without exception.

V.       CLASS CERTIFICATION ELEMENTS ARE INSUFFICIENTLY PLEAD

         Plaintiffs seek relief in the Complaint requesting this Court to certify a class on the

pleadings based upon the boilerplate and insufficiently plead class elements alleged. While the

district court has broad discretion to grant or deny class certification, Defendant understands and



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recognizes that certification of the proposed class is premature at this juncture based upon the class

allegations plead. Clark v. McDonald’s Corp., 213 F.R.D. 198, 205 n.3 (D.N.J. 2003).

         The sufficiency of Plaintiffs’ claims, Plaintiffs’ standing to bring such claims, and

Defendant’s immunity against such claims have each been challenged. Therefore, if Defendant’s

dismissal arguments against one or more Plaintiffs is granted, their capacity to serve as

representatives for prospective class claims would be similarly dismissed and certification would

be improper. Even if Plaintiffs could show each of the unidentified proposed class members were

Delaware inmates with shared needs for medical care, there are factual and facial differences that

will pose potential conflicts. Class certification is both premature and readily overcome by the face

of the nondescript allegations in the Complaint, which fail to satisfy multiple requisite elements

required for certification. Though Plaintiffs have not yet filed a motion for class certification,

because Plaintiffs have included a request for certification of the putative class in the prayer for

relief, Defendant preserves its challenges and requests the Court permit leave to enter briefing and

opposition before certification is considered.

                                          CONCLUSION

         For the foregoing reasons, VITALCORE respectfully requests that the Court grant its

Motion to Dismiss.

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